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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 IN RE:

                   TRONOX INCORPORATED, et al.,                                                                             Bankr. Case No. 09-10156 (ALG)
                                                                                                                            (Jointly Administered)
                                                       Debtors.
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 TRONOX INCORPORATED, TRONOX
 WORLDWIDE LLC f/k/a Kerr-McGee Chemical
 Worldwide LLC, and TRONOX LLC f/k/a Kerr-
 McGee Chemical LLC,
                                                                                                                            Adversary Proceeding
                                                       Plaintiffs,                                                          No. 09-01198 (ALG)

                                     - against -

 ANADARKO PETROLEUM CORPORATION
 and KERR-MCGEE CORPORATION,

                                                       Defendants.
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 THE UNITED STATES OF AMERICA,

                                                       Plaintiff-Intervenor,

                                     - against -

 TRONOX, INC., TRONOX WORLDWIDE
 LLC, TRONOX LLC, KERR-MCGEE
 CORPORATION, and ANADARKO
 PETROLEUM CORPORATION,

                                                                         Defendants.
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                                 JOINDER OF THE UNITED STATES OF AMERICA
                               IN THE LITIGATION TRUST’S MOTION FOR PARTIAL
                           SUMMARY JUDGMENT REGARDING THE LITIGATION TRUST’S
                           RECOVERY UNDER SECTION 550(a) OF THE BANKRUPTCY CODE
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       The United States respectfully joins in the Litigation Trust’s motion for partial summary

judgment seeking a ruling rejecting the “damages cap” proposed by defendants Anadarko

Petroleum Corporation, et al. (collectively, “Anadarko”).

                                            ARGUMENT

       Anadarko’s suggestion that the Litigation Trust’s recovery be capped at the amount of

unpaid creditor claims should be rejected. Anadarko’s request has no basis in law, as described

in the Litigation Trust’s motion, and would result in a material change in the agreement struck

between Tronox and the governmental environmental creditors (collectively, the

“Governments”), embodied in the Environmental Settlement Agreement [Exhibit 1 to Dkt. No.

2692, as amended by Exhibit 3 to Dkt. No. 2810], and incorporated into the Plan of

Reorganization [Exh. A to Dkt. No. 2567]. The Environmental Settlement Agreement, approved

by the Court, provided that the Governments would receive certain cash payments and other

non-cash consideration, a significant portion of which consisted of the promise that eighty-eight

percent of the proceeds of the fraudulent conveyance adversary proceeding would be paid on

account of Tronox’s environmental liabilities. Nothing in the Environmental Settlement

Agreement or the Plan of Reorganization provided that the Governments would bear the risk that

the litigation will be unsuccessful without having the opportunity to benefit from the full

potential upside of the litigation in the event that it is successful. To the contrary, the

Governments’ willingness to accept non-cash consideration in settlement of Tronox’s vast

environmental liabilities – the legacy of a century of pollution by Kerr-McGee Corporation and

other predecessor companies – was based on the understanding that these litigation interests had

both upside and downside risk. The litigation might end well, and it might end poorly, but the

combination of the upside and downside risk was deemed to justify the settlement under the

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circumstances, including the relatively cash-poor nature of the debtors’ estate. Anadarko’s

proposed damages cap would rewrite this deal, leaving the Governments with the downside risk

only.

        Anadarko’s request for a back-end limitation on the Governments’ recovery

fundamentally asks the Court to resolve the wrong question, at the wrong time: The right

question is whether distributions under the Plan of Reorganization and Environmental Settlement

Agreement, considered on an expected value basis as of the time of confirmation, would result in

overpayment of the United States and other litigation trust beneficiaries. And the right time for

answering that question was prior to the entry of the Confirmation Order. [Dkt. No. 2567] Had

Anadarko or any other party-in-interest objected to the settlement consideration at that time, the

Court could have held the necessary estimation hearings to determine whether the distribution of

the litigation interests, in light of their expected value, taken together with any other

consideration provided under the Environmental Settlement Agreement and Plan, resulted in the

overpayment of any creditor (or, indeed, all creditors). No party-in-interest objected on these

grounds: not Anadarko, not the Committee of Unsecured Creditors, and not the Committee of

Equity Securityholders, who arguably had the most to gain from such an objection if it had any

merit (which it did not). Accordingly, in the absence of any objection and based on the record

before it, the Court approved the Environmental Settlement Agreement as “reasonable, fair and

equitable pursuant to Bankruptcy Rule 9019 and section 1123 of the Bankruptcy Code,”

Confirmation Order ¶ 99, and confirmed the Plan. That should be the end of the story.

        As with all of the non-cash consideration transferred under the Plan, the litigation

interests had a value, perhaps difficult to determine, at the time of confirmation. Any party-in-

interest considering whether to object to the Environmental Settlement Agreement or Plan could

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exercise its own judgment in assessing that value. In the case of litigation interests, such a party-

in-interest would consider the present value of the litigation, perhaps by taking into account the

various possible outcomes (both high and low), attaching a percentage likelihood to each one,

and summing the results, subtracting the costs of litigating, and applying discounts reflecting the

time value of money. Every creditor in the bankruptcy had to reach its own judgment regarding

the value of the litigation interests, just as every creditor needed to reach a conclusion about the

present value of stock to be provided to the General Unsecured Creditors under the Plan, and the

present value of the warrants to be provided to the holders of Tronox’s pre-petition equity under

the Plan. Anyone who believed that the Governments (or the General Unsecured Creditors, or

Equity) were receiving non-cash consideration with too great a value had the opportunity to

object, and seek an estimation hearing, prior to confirmation. No one did.

       Anadarko’s current request, long after confirmation, for the Court to estimate the value of

the creditors’ claims and compare that value against the actual results in the fraudulent

conveyance litigation (rather than the expected value as of the confirmation date) is inconsistent

with the general rule that Plan consideration is measured as of, and at, the time of confirmation.

The Court would rightly reject out of hand any request that it now scrutinize the current market

values of Tronox’s stock in order to determine, after the fact, whether the stock received by

General Unsecured Creditors under the Plan was “too much” relative to their claim amounts.

The Court would likewise refuse any effort to rewrite the terms of the warrants provided under

the Plan to the holders of pre-petition equity, if the terms approved at confirmation now appear

too rich. The litigation interests transferred to settle the environmental and tort liabilities should

be treated no differently.




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       Indeed, although imposing such a back-end review of litigation interests transferred as

plan consideration is inappropriate in any circumstance, it is particularly inappropriate here

because it undermines one of the very benefits that the Court considered in confirming the Plan

in this case: “avoiding expensive and lengthy estimation or other proceedings with respect to the

amount and priority of Environmental Claims and Tort Claims.” Confirmation Order ¶ 38. The

Court correctly concluded, at the time of confirmation, that avoiding such estimation

proceedings was a factor justifying approval of the Plan and Environmental Settlement

Agreement as written. At the time, Anadarko apparently agreed, because it chose not to ask the

Court to hold estimation proceedings. Having failed to request an estimation at the proper time,

Anadarko should not now be permitted to institute such proceedings at the time of trial in this

adversary proceeding, long after the Court approved the Environmental Settlement Agreement

and confirmed the Plan.




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                                         CONCLUSION

       For the reasons stated above and the reasons contained in the Litigation Trust’s motion,

the United States respectfully requests that the Court grant the motion, reject defendants’

proposed damages cap, and reaffirm the deal that was struck in the Plan and Environmental

Settlement Agreement.

Dated: New York, New York
       August 31, 2011

                                             PREET BHARARA
                                             United States Attorney
                                             Attorney for the United States of America

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